       Case 3:21-md-02981-JD Document 955 Filed 04/26/24 Page 1 of 2



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 9                               UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF CALIFORNIA
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11   IN RE GOOGLE PLAY STORE                      Case No. 3:21-md-02981-JD
     ANTITRUST LITIGATION
12

13   THIS DOCUMENT RELATES TO:
                                                  NOTICE OF WITHDRAWAL OF
     State of Utah et al. v. Google LLC et al.,   COUNSEL
14
     Case No. 3:21-cv-05227-JD                    Judge: Hon. James Donato
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                                                                           NOTICE OF WITHDRAWAL
                                                            CASE NOS. 3:21-MD-02981; 3:21-CV-05227-JD
       Case 3:21-md-02981-JD Document 955 Filed 04/26/24 Page 2 of 2



 1   TO THE COURT, ALL PARTIES AND THEIR COUNSEL OF RECORD:
 2          PLEASE TAKE NOTICE that the undersigned Attorney Lauren M. Weinstein hereby
 3   withdraws as counsel of record for the State of Utah in the above captioned litigation and
 4   respectfully requests that her name be removed from all applicable service lists, including
 5   Notices of Electronic Filing.
 6          The State of Utah will continue to be represented by other counsel of record in this action.
 7
     Dated: April 26, 2024                        Respectfully submitted,
 8

 9                                        By:     /s/ Lauren M. Weinstein
10
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                                                                  CASE NOS. 3:21-MD-02981; 3:21-CV-05227-JD
